Case 2:15-ml-02668-PSG-SK Document 1106-1 Filed 01/05/24 Page 1 of 6 Page ID
                                #:42805


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 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                               MEMORANDUM IN SUPPORT OF
 17   THIS DOCUMENT RELATES TO                 PLAINTIFFS’ MOTION IN LIMINE
      ALL ACTIONS                              NO. 3 TO EXCLUDE
 18                                            IRRELEVANT AND PREJUDICIAL
                                               EVIDENCE UNDER RULES 402
 19                                            AND 403
 20                                            JUDGE: Hon. Philip S. Gutierrez
                                               DATE: February 7, 2024
 21                                            TIME: 2:30 p.m.
                                               COURTROOM:
 22                                             First Street Courthouse
                                                350 West 1st Street
 23                                             Courtroom 6A
                                                Los Angeles, CA 90012
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Case 2:15-ml-02668-PSG-SK Document 1106-1 Filed 01/05/24 Page 2 of 6 Page ID
                                #:42806


  1         Plaintiffs respectfully request that this Court preclude the NFL Defendants
  2   from seeking to introduce evidence or making arguments about the following subject
  3   matters pursuant to Federal Rules of Evidence 402 and 403.
  4   I.    The NFL Should be Precluded from Referring to Sunday Ticket as a
  5         Luxury Good, Unnecessary, or Other Similar Connotation
  6         The NFL Defendants should be precluded from referring to NFL Sunday
  7   Ticket as a “luxury good” or any other label that characterizes the product at issue in
  8   this litigation as an extravagance that merits lesser protection under the antitrust laws.
  9   Such a characterization of NFL Sunday Ticket is irrelevant to any claim or defense
 10   and would be unfairly prejudicial to Plaintiffs.
 11         The Sherman Act makes no distinction between “luxury” products and
 12   “essential” goods. Its prohibition on anticompetitive conduct applies to all product
 13   markets. As the Supreme Court has instructed: “The outer boundaries of a product
 14   market are determined by the reasonable interchangeability of use or the cross-
 15   elasticity of demand between the product itself and substitutes for it.” Brown Shoe v.
 16   United States, 370 U.S. 294, 325 (1962); accord Newcal Indus., Inc. v. Ikon Off. Sol.,
 17   513 F.3d 1038, 1045 (9th Cir. 2008). Courts routinely hold that products that could
 18   be characterized as “luxury” are subject to the antitrust laws. See, e.g., Sullivan v. DB
 19   Invs., Inc., 667 F.3d 273 (3d Cir. 2011) (affirming antitrust class action settlement
 20   concerning “gem-quality diamonds”) (en banc); Axelrod v. Saks & Co., 77 F.R.D.
 21   441, 443 (E.D. Pa. 1978) (certifying antitrust action involving expensive women’s
 22   wear at Saks Fifth Avenue, Bergdorf Goodman, and Bonwit Teller); see also In re
 23   Auction Houses Antitrust Litig., 193 F.R.D. 162, 163 (S.D.N.Y. 2000) (certifying
 24   class action alleging antitrust conspiracy to manipulate prices in auction services “for
 25   fine and applied arts, furniture, antiques, automobiles, collectibles and other items”).
 26         Whether Sunday Ticket is a “luxury” product has no bearing on whether the
 27   NFL Defendants engaged in anticompetitive conduct or whether the Classes paid
 28   supercompetitive prices for it. See Foremost Int'l Tours, Inc. v. Qantas Airways Ltd.,
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Case 2:15-ml-02668-PSG-SK Document 1106-1 Filed 01/05/24 Page 3 of 6 Page ID
                                #:42807


  1   478 F. Supp. 589, 595 (D. Haw. 1979), aff'd, 649 F.2d 867 (9th Cir. 1981) (rejecting
  2   defendant’s argument that the relevant market in which it competed was for
  3   discretionary non-essential goods “for were antitrust courts to adopt it, no plaintiff in
  4   the business of providing luxuries to the consumer could ever establish a viable
  5   relevant market for purposes of the Sherman Act”).
  6         In short, arguments about Sunday Ticket’s “luxury status” will not tend to
  7   prove any fact relevant to this case. As such, evidence or arguments characterizing
  8   Sunday Ticket as a luxury, unnecessary, an extravagance, or some other similar
  9   connotation should be excluded. See Fed. R. Evid. 401, 402; see also Mech. Mktg.,
 10   Inc. v. Sixxon Precision Mach. Co., Ltd., 2016 WL 7740506, at *2 (N.D Cal. Mar.
 11   24, 2016) (“Irrelevant evidence is not admissible.”).
 12         Even if argument about Sunday Ticket’s luxury status were minimally
 13   relevant, it still should be excluded under Federal Rule of Evidence 403 because any
 14   minimal probative value is far outweighed by the danger of unfair prejudice and
 15   confusion. See Fed. R. Evid. 403 (“The court may exclude relevant evidence if its
 16   probative value is substantially outweighed by a danger of one or more of the
 17   following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
 18   wasting time, or needlessly presenting cumulative evidence.”).
 19   II.   The NFL Should be Precluded from Remarking on the Absence of
 20         DirecTV, CBS, and Fox as Named Defendants
 21         Plaintiffs respectfully request an order in limine pursuant to Rule 403
 22   precluding the NFL Defendants from making at trial any statement or argument,
 23   presenting or seeking to introduce evidence, or eliciting testimony concerning
 24   Plaintiffs’ apparent failure to sue DirecTV, CBS, Fox, or any other network
 25   (collectively, the NFL’s “Television Partners”) for anticompetitive behavior. The
 26   NFL Defendants may in this case attempt to exploit the natural curiosity in the minds
 27   of the jurors, by suggesting to them, directly or indirectly, that if the challenged
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Case 2:15-ml-02668-PSG-SK Document 1106-1 Filed 01/05/24 Page 4 of 6 Page ID
                                #:42808


  1   conduct were truly anticompetitive, DirecTV, CBS and Fox would each be present
  2   in Court as defendants.
  3         The presence or absence of the NFL’s Television Partners is irrelevant to the
  4   issues in this case. Each member of an antitrust conspiracy is jointly and severally
  5   liable under the Sherman Act for all damages caused by the conspiracy. See, e.g.,
  6   Paper Sys. Inc. v. Nippon Paper Indus. Co., 281 F.3d 629, 632 (7th Cir. 2002) (citing
  7   Texas Industries, Inc. v. Radcliff Materials, Inc., 451 U.S. 630 (1981)); Markson v.
  8   CRST Int’l, Inc., 2022 WL 790960, at *11 (C.D. Cal. Feb. 24, 2022). There are a host
  9   of legitimate reasons why a plaintiff would sue some but not all conspirators in an
 10   antitrust case. Suggesting otherwise would generate an unnecessary and unfair risk
 11   of confusion to the jury and be unfairly prejudicial to Plaintiffs.
 12         Indeed, evidence or argument premised on a potential claimant’s decision not
 13   to sue is inadmissible under Federal Rules of Evidence 401 and 403. See, e.g., Bishop
 14   v. Children’s Ctr. for Developmental Enrichment, 2011 WL 6752071, at *2 (S.D.
 15   Ohio Dec. 22, 2011) (excluding evidence that defendant was not also sued by third-
 16   party school district because such evidence “could result in confusion of the issues
 17   to the jury”). The same reasoning precludes a defendant from commenting on a
 18   plaintiffs’ decision not to sue other potential defendants. See, e.g., Buckman v.
 19   Bombardier Corp., 893 F. Supp. 547, 557 (E.D.N.C. 1995) (precluding as irrelevant
 20   mention of other parties that the plaintiff could have sued); Allstate Fin. Corp. v.
 21   Utility Trailer, 1995 WL 347985, at *3 (N.D. Ill. June 8, 1995) (precluding evidence
 22   about the decision not to sue an alleged coconspirator defendant because this issue
 23   was of “very marginal relevance, as Plaintiff may have had numerous reasons not to
 24   sue” and would “needlessly confuse the jury by creating a sideshow at trial”).
 25         The same reasoning applies here as well: the reasons why neither DirecTV nor
 26   CBS and Fox are defendants at the trial in this case have no bearing on whether the
 27   Defendants’ conduct was anticompetitive or whether class members paid
 28   supracompetitive prices for Sunday Ticket during the class period. In fact, DirecTV
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Case 2:15-ml-02668-PSG-SK Document 1106-1 Filed 01/05/24 Page 5 of 6 Page ID
                                #:42809


  1   was named as a defendant in this litigation and the case against it has been stayed
  2   pending arbitration. In any event, the NFL Defendants should not be permitted to
  3   argue or suggest in any manner that the Television Partners are not co-conspirators
  4   because they are not appearing as defendants at the trial.
  5   III.   CONCLUSION
  6          For the foregoing reasons, Plaintiffs’ motion in limine to preclude the NFL
  7   Defendants from referring to Sunday Ticket as a luxury good and from referencing
  8   the absence of the Television Partners should be granted.
  9

 10   Dated: January 5, 2024                 Respectfully submitted,
 11

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